923 F.2d 847Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Thomas Lynn ANDREWS, Sr., Plaintiff-Appellant,v.DAVIDSON COUNTY SHERIFF'S DEPARTMENT, Paul McCrary, Sheriff,Jim Johnson, Captain, Davidson County Sheriff'sDepartment, Steve Hedrick, DavidsonCounty Sheriff's Department,Defendants-Appellees.
    No. 90-6935.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 7, 1991.Decided Jan. 29, 1991.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Salisbury.  N. Carlton Tilley, Jr., District Judge.  (CA-89-636-S)
      Thomas Lynn Andrews, Sr., appellant pro se.
      Denis E. Jacobson, Tuggle, Duggins &amp; Meschan, P.A., Frederick Kingsley Sharpless, Elrod &amp; Lawing, P.A., Greensboro, N.C., for appellees.
      M.D.N.C.
      AFFIRMED.
      Before DONALD RUSSELL, WIDENER and K.K. HALL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Thomas Lynn Andrews, Sr. appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Andrews v. Davidson County Sheriff's Dep't, CA-89-636-S (M.D.N.C. Oct. 22, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    